         Case 3:21-cv-00881-X Document 180 Filed 01/09/24                       Page 1 of 1 PageID 61209
BTXN 049 (rev. 03/15)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Highland Capital Management, L.P.                            §
                                                             §    Case No.: 19−34054−sgj11
                          Debtor(s)                          §    Chapter No.: 11
HIGHLAND CAPITAL MANAGEMENT, L.P.                            §
                          Appellant(s)                       §
    vs.                                                      §
NEXPOINT ASSET MANAGEMENT; et al                             §
                          Appellee(s)                        §
                                                             §
                                                             §
                                                             §
                                                             §


                                          NOTICE OF TRANSMITTAL
I am transmitting:

                The Motion for leave to Appeal 28 U.S.C. § (USDC Civil Action No. DNC Case).
                The Motion for Stay Pending Appeal (USDC Action No. − DNC Case).
                The Proposed Findings of Fact and Conclusions of Law.
                The Motion to Extend Time To File Designation (USDC Civil Action No DNC Case).
                On , the Record on Appeal was transmitted. The designation of record or item(s) designated by
                were not filed when the record was transmitted. The item(s) were filed on awaiting instructions
                from the assigned district judge.
                Other Transmitting 233 appellant volumes for a 5th circuit appeal: 23−10911.
                Copies of:

TO ALL ATTORNEYS: File all subsequent papers captioned and numbered with the appropriate division of the
United States District Clerk's Office. Any questions concerning this proceeding should be directed to the U.S. District
Clerk's Office at (214) 753−2200.


DATED: 1/9/24                                     FOR THE COURT:
                                                  Robert P. Colwell, Clerk of Court

                                                  by: /s/J. Blanco, Deputy Clerk
